    Case: 1:21-cv-03906 Document #: 21 Filed: 03/22/22 Page 1 of 3 PageID #:135




                   UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HASELECT-FTM MEDICAL              )
RECEIVABLES LITIGATION FINANCE    )
FUND SP,                          )
                                  )
     Plaintiff,                   )
                                  )
     v.                           )                      Case No.: 21 C 3906
                                  )
INFINITY CAPITAL MANAGEMENT, INC. )                      Judge Jorge L. Alonso
                                  )
     Defendant.                   )

                         MOTION TO VACATE DISMISSAL

       Plaintiff, HASELECT-FTM MEDICAL RECEIVABLES LITIGATION FINANCE

FUND SP, by its undersigned counsel, for its motion to vacate this Court’s March 22, 2022

order dismissing this case for want of prosecution:

       1.      On July 21, 2021, Plaintiff filed its complaint for breach of contract against

Defendant.

       2.      On August 21, 2021, Plaintiff filed its Emergency Motion for Inspection of

Collateral and Expedited Discovery.

       3.      On August 27, 2021, this Court granted in part and denied in part Plaintiff’s

emergency motion and permitted Plaintiff to conduct expedited discovery.

       4.      On September 14, 2021, Defendant filed a voluntary bankruptcy petition in the

U.S. Bankruptcy Court for the District of Nevada. That bankruptcy case is captioned In re

Infinity Capital Management, Inc., case number 21-14486-abl, and remains pending.

       5.      Beginning on and after October 19, 2021, a number of adversary complaints

have been filed by HASELECT Medical Receivables Finance Fund SP, the Plaintiff in this




                                              1
    Case: 1:21-cv-03906 Document #: 21 Filed: 03/22/22 Page 2 of 3 PageID #:136




action. A copy of the docket sheet from the Infinity Bankruptcy case, 21-BK-14486, is

attached as Exhibit A.

       6.       On December 9, 2021, and then again on February 17, 2022, counsel for the

Plaintiff emailed Ms. Leslie Fairley, Courtroom Deputy to the Honorable Jorge L. Alonso, to

inform the Court that the Defendant had filed bankruptcy and that the Plaintiff planned to

file a motion to lift the bankruptcy stay in order to proceed in this litigation against the

Defendant. A copy of counsel’s December 9, 2021, and February 17, 2022 emails is attached

as Exhibit B.

       7.       Federal Rule of Civil Procedure 60(b)(1) permits the court to “relieve a party

or a party's legal representative from a final judgment, order, or proceeding for ... mistake,

inadvertence, surprise, or excusable neglect ... or [for] any other reason justifying relief from

the operation of the judgment.” When seeking to vacate a default judgment under this rule,

the moving party has to demonstrate: (1) that she had good cause for the default; (2) that she

took quick action to correct the default; and (3) that she has a meritorious defense to the

original claim. Jones v. Phipps, 39 F.3d 158 (7th Cir. 1994).

       8.       Plaintiff respectfully submits that Defendant’s bankruptcy petition warrants

vacation of the Court’s March 22, 2022 Order dismissing for want of prosecution. Simply

stated, there has been no want of prosecution. Indeed, until the bankruptcy court lifts the

automatic stay the Plaintiff has been forbidden to pursue this matter. Nonetheless, Plaintiff

has continued to pursue its rights in the bankruptcy court in which Defendant sought relief

– and Plaintiff attempted in good faith to inform this Court about the pending bankruptcy

and that Plaintiff intended to pursue a motion to lift the stay in order to permit this case to

proceed. For these reasons, Plaintiff respectfully submits that the order dismissing this case

for want of prosecution should be vacated.




                                               2
    Case: 1:21-cv-03906 Document #: 21 Filed: 03/22/22 Page 3 of 3 PageID #:137




       Wherefore, Plaintiff, HASELECT-FTM MEDICAL RECEIVABLES LITIGATION

FINANCE FUND SP, by its undersigned counsel, respectfully requests that this Court vacate

it March 22, 2022 Order dismissing this case for want of prosecution and provide all other

appropriate relief.

Date: March 22, 2022



                                         Respectfully submitted,

                                         HASELECT-FTM MEDICAL RECEIVABLES
                                         LITIGATION FINANCE FUND SP,

                                         By: /s/Thomas C. Cronin
                                             One of its Attorneys



Thomas C. Cronin                            John N. Hourihane, Jr. (IL Bar #6256107)
CRONIN & CO., LTD.                          JOHN N. HOURIHANE, JR. LTD.
120 N. LaSalle Street, 20th Floor           120 North LaSalle Street, 20th Floor
Chicago, Illinois 60602                     Chicago, Illinois 60602
312.500.2100                                312.782.6856
tcc@cronincoltd.com                         john@hourihaneltd.com
admin@cronincoltd.com




                                            3
